Case 2:20-cv-03853-MWF-PVC Document 22 Filed 11/02/20 Page 1 of 4 Page ID #:158


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

  Case No. CV-20-3853-MWF (PVCx)                Date: November 2, 2020
  Title:   Anthony Bouyer v. 603 San Fernando Road, LLC

  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                            Court Reporter:
            Rita Sanchez                             Not Reported

            Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
            None Present                             None Present

  Proceedings (In Chambers): ORDER RE: PLAINTIFF’S AMENDED
                             APPLICATION FOR DEFAULT JUDGMENT [19]

         Before the Court is Plaintiff Anthony Bouyer’s Amended Application for
  Default Judgment against Defendant 603 San Fernando Road, LLC (the “Motion”),
  filed on September 14, 2020. (Docket No. 19). Defendant did not file an opposition.

        The Motion was noticed to be heard on October 19, 2020. The Court read and
  considered the papers on the Motion and deemed the matter appropriate for decision
  without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. Vacating the
  hearing is also consistent with General Order 20-09 arising from the COVID-19
  pandemic.

        The Motion is DENIED without prejudice. Plaintiff has not established that
  Defendant has been properly served, and therefore, has not satisfied the procedural
  requirements to obtain an entry of default judgment.

        Plaintiff initially filed an application for default judgment on July 16, 2020.
  (Docket No. 16). The Court denied the application without prejudice because Plaintiff
  did not explain why the address of service was consistent with valid service under
  federal or California law or why Brian Blakenship appeared to be the person in charge.
  (Docket No. 18). The Court ordered plaintiff to refile his application by September 14,
  2020. (Id.).


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                           CIVIL MINUTES—GENERAL                              1
Case 2:20-cv-03853-MWF-PVC Document 22 Filed 11/02/20 Page 2 of 4 Page ID #:159


                           UNITED STATES DISTRICT COURT
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                               CIVIL MINUTES—GENERAL

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          After additional briefing, the Court is still not satisfied that the original service
  of process was proper. Personal service of a copy of any process against a limited
  liability company (“LLC”) may be made by delivery to any individual designated by
  the LCC as its agent. Cal. Corp. Code § 17701.16(b). If personal service of the agent
  is not possible after “reasonable diligence,” it may instead be served “by leaving a
  copy of the summons and complaint at the person’s . . . usual place of business” with
  “a personal apparently in charge of his or her . . . place or business . . . who shall be
  informed of the contents thereof[.]” Cal. Code Civ. Proc. § 415.20(b). Plaintiff must
  thereafter mail “a copy of the summons and of the complaint by first-class mail,
  postage prepaid to the person to be served at the place where a copy of the summons
  and complaint were left.” Id.

         Ian Landsberg, Esq., is Defendant’s registered agent for service of process. The
  process server alleges that she attempted to serve Ian Landsberg at his registered
  address of 9300 Wilshire Blvd. #565, Beverly Hills, CA 90212. (Declaration of
  Adriana M. Achucarro (“Achucarro Decl.”) (Docket No. 19-4)). Upon arrival at this
  address, Achucarro was informed that Ian Landsberg was no longer at that address.
  (Id. ⁋ 3). Achucarro then located Landsberg’s current address, 1880 Century Park
  East, Suite 300, Los Angeles, CA 90067. When Achucarro arrived at 1880 Century
  Park East to serve Lansberg personally, security told her that she could not enter the
  building due to COVID-19 restrictions. (Id. ⁋⁋ 3-4). Security instead called
  Landsberg’s office and Brian Blakenship came down to meet Achucarro. (Id. ⁋ 4).
  Achucarro then executed substitute service on Brian Blakenship. (Id.).

        Substitute service on Brain Blakenship was proper only if a copy of the
  summons and complaint could not “with reasonable diligence be personally delivered
  to” Landsberg. See Cal. Code Civ. Proc. § 415.20(b). “Indeed, in order to avail
  oneself of substituted service under section 415.20, two or three attempts to personally
  serve a defendant at a proper place ordinarily qualifies as ‘reasonable diligence.’” Bd.
  of Trustees of Leland Stanford Junior Univ. v. Ham, 216 Cal. App. 4th 330, 337, 156
  Cal. Rptr. 3d 893 (2013). Considering the safety restriction put in place by
  Landsberg’s building due to COVID-19, one attempt may have been sufficient.

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                           CIVIL MINUTES—GENERAL                              2
Case 2:20-cv-03853-MWF-PVC Document 22 Filed 11/02/20 Page 3 of 4 Page ID #:160


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV-20-3853-MWF (PVCx)                Date: November 2, 2020
  Title:   Anthony Bouyer v. 603 San Fernando Road, LLC

         However, assuming but not deciding that one visit to Landsberg’s office
  constitutes “reasonable diligence” in attempting to effectuate personal service, the
  substitute service was defective.

         First, Achucarro states that she “handed [Blakenship] the documents,” but does
  not state whether she informed him “of the contents thereof.” See Cal. Code Civ. Proc.
  § 415.20(b); see also Shanghai Qichengyueming Inv. P’ship Enter. v. Jia Yueting, CV
  18-7723-SJO (JPRx), 2018 WL 6844712, at *3 (C.D. Cal. Dec. 11, 2018) (process
  server described contents of the documents to the recipient of substitute service);
  Pension Plan for Pension Tr. Fund for Operating Engineers v. Constr. Materials
  Testing, Inc., CV 15-05325-DMR, 2017 WL 5514293, at *4 (N.D. Cal. Oct. 25, 2017)
  (process server “generally informed” recipient of the contents of the papers for
  substitute service to be effectuated). This requirement is critical because if Blakenship
  did not know or understand the significance of the documents that Achucarro handed
  him, the documents may have ended up in a junk pile or recycling bin, rather than in
  Landsberg’s hands.

         Second, the Court cannot determine whether Achucarro mailed “a copy of the
  summons and of the complaint by first-class mail, postage prepaid to the person to be
  served at the place where a copy of the summons and complaint were left.” See id.
  Achucarro’s Declaration states that she “followed up with service via mail on May 15,
  2020, as indicated on Exhibit 6 and signed the proof of service on May 18, 2020.”
  Presumably Achucarro intended to refer to Exhibit 4, which includes the Proof of
  Service and Declaration of Due Diligence executed by Achucarro on May 18, 2020.
  (See id. 19-9, Ex. 4). The Declaration of Due Diligence states that Achucarro “mailed
  a copy from Anaheim CA to the above address by first place mail postage fully
  prepaid.” (Id.). However, two addresses are listed above this statement, Landsberg’s
  former address and current address, and Achucarro does not include a photocopy of the
  addressed envelope. (Id.). Given the two different addresses listed, the Court could
  infer that Achucarro mailed the documents to the newer, correct address; but due to the
  rights at stake in entering default judgment, the Court declines to engage in guesswork.


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                           CIVIL MINUTES—GENERAL                              3
Case 2:20-cv-03853-MWF-PVC Document 22 Filed 11/02/20 Page 4 of 4 Page ID #:161


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

  Case No. CV-20-3853-MWF (PVCx)                Date: November 2, 2020
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        Accordingly, the Court cannot determine that substitute service under Civil
  Procedure Code section 415.20(b) was proper.

          Additionally, as a matter of discretion, the Court requires that a plaintiff serve an
  application for default judgment on the relevant defendant(s). While service need not
  strictly comply with Federal Rule of Civil Procedure 4, the Court does require that the
  service is reasonably likely to provide notice to the defendant(s). Exhibit 6 is a
  document signed by someone named Josie Barron who attests that she mailed a copy
  of Plaintiff’s First Amended Application for Default Judgment, the Memorandum and
  Points of Authorities in Support, and the Declarations and Exhibits in Support to Ian
  Landsberg, Esq. at 9300 Wilshire Blvd. #565, Beverly Hills, CA 90212 through
  prepaid U.S. Mail on September 14, 2020. (See Docket No. 19-10, Ex. 6). This is
  Landsberg’s former address. As a result, the Court is not satisfied that Defendant has
  actual notice of the Motion.

        For the foregoing reasons, the Motion is DENIED without prejudice. Plaintiff
  must refile his Motion, with the service issues remedied, by November 16, 2020.

        IT IS SO ORDERED.




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                           CIVIL MINUTES—GENERAL                              4
